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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KATHY BARNETTE, Individually and As :            CIVIL ACTION
A Candidate for Pennsylvania’s 4th       :
Congressional District and on Behalf of :
All Citizen Electors of Montgomery       :
County and Berks County, Pennsylvania :
and CLAY D. BREECE, Individually and :
as an Elector in that Portion of         :
Pennsylvania’s 4th Congressional         :
District Located in Berks County, and on :
Behalf of All Citizen Electors of Berks  :
County, Pennsylvania Within              :
Pennsylvania’s 4th Congressional District:
                                         :
                                         :
        v.                               :
                                         :
KENNETH E. LAWRENCE, JR., Chair of :
the Montgomery County Board of           :
Election[s] and Vice Chair of the        :
Montgomery County Board of               :
Commissioners, In His Official Capacity :
VALERIE A. ARKOOSH, MD, MPH, Vice :
Chair of the Montgomery County Board :
of Elections and Chair of the Montgomery:
County Board of Commissioners, In        :
Her Official [Capacity] and FRANK DEAN, :
Mail-In Election Director for Montgomery :
County, In His Official Capacity         :          NO. 20-5477

                                      ORDER


       NOW, this 3rd day of November, 2020, the plaintiff having filed a Motion for

Temporary Restraining Order (Document No. 10) and after a conference with counsel, it

is ORDERED that a hearing to show cause why a temporary restraining order should not

be entered is scheduled for Wednesday, November 4, 2020, at 9:00 a.m., in Courtroom

15A.

                                 /s/ TIMOTHY J. SAVAGE J.
